                 Case 2:20-cr-00111-JCC Document 38 Filed 10/02/20 Page 1 of 2




                                                      THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   UNITED STATES OF AMERICA,                               CASE NO. CR20-0111-JCC
10                             Plaintiff,                    ORDER
11          v.

12   ISAIAH THOMAS WILLOUGHBY,

13                             Defendant.
14

15          This matter comes before the Court on the Government’s motion to continue the trial date
16   (Dkt. No. 37). Trial is currently scheduled for October 5, 2020. The Government moves to
17   continue the trial. Defendant has not joined the motion. Having thoroughly considered the
18   motion, the relevant record, and the Court’s General Orders addressing measures to reduce the
19   spread and health risks from COVID-19, incorporated herein by reference, the Court hereby
20   FINDS:
21      1. In light of the recommendations made by the Centers for Disease Control and Prevention
22          and Public Health for Seattle and King County regarding social distancing measures
23          required to stop the spread of COVID-19, as well as the lack of personal protective
24          equipment necessary to ensure the health and safety of all participants, it is not possible
25          to proceed with a jury trial on October 5, 2020. See W.D. Wash. Gen. Orders Nos. 02-20,
26          13-20; 18 U.S.C. § 3161(h)(7)(B)(i).


     ORDER
     CR20-0111-JCC
     PAGE - 1
               Case 2:20-cr-00111-JCC Document 38 Filed 10/02/20 Page 2 of 2




 1      2. The COVID-19 pandemic has also rendered the Court unable to obtain an adequate

 2          spectrum of jurors that would represent a fair cross section of the community, which

 3          would likely make proceeding on the current case schedule in this matter impossible or

 4          would result in a miscarriage of justice. See W.D. Wash. Gen. Orders Nos. 02-20, 13-20;

 5          18 U.S.C. § 3161(h)(7)(B)(i).

 6      3. The Court finds the ends of justice served by granting a continuance outweigh the best

 7          interests of the public and Defendant in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A).

 8          For the foregoing reasons, the Court GRANTS the motion to continue the trial date (Dkt.
 9   No. 37). The trial date is hereby CONTINUED to March 1, 2021, at 9:30 a.m. The Court further
10   ORDERS that the time between the date this order is issued and the new trial date is excludable
11   time under the Speedy Trial Act pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i).
12   Pretrial motions must be filed no later than January 1, 2021.
13          DATED this 2nd day of October 2020.




                                                          A
14

15

16
                                                          John C. Coughenour
17                                                        UNITED STATES DISTRICT JUDGE
18

19

20

21

22

23

24

25

26


     ORDER
     CR20-0111-JCC
     PAGE - 2
